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Atrorney]?)r Plaintijj”
Wester'n Wafersheds Project

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF IDAHO

WESTERN WATERSI-IEDS PROJECT, \ No. l:l7-cv-l97-BLW
Plaintiff,
SE'l"l`LEMENT AGREEMENT

V.

USDA APHTS WILDLIFE SERVICES,

Defendant.

 

 

It is hereby stipulated between the undersigned parties and their attorneys that this action
be settied, compromised2 and dismissed in accordance with the following terms:

l. Plaintiff Western Watersheds Project (hereinafter “Plaintift”) filed the above
captioned lawsuit on May 8, 2017 against Defendant U.S. Departrnent of Agriculture, Animal
and Plant Health Inspection Service, Wildlife Services (hereinafter “Defendant”) concerning the
following FOIA requests:

a. 2017-APHIS-966-P

b. 2017-APHlS-02748-F

SETTLEMENT AGREEMENT--l

 

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c. 2017-API-IIS-04788

2. During the course of this litigation, Plaintiff received documents responsive to the
subject FOIA requests, and has agreed to accept the documents received and the other terms of
this Settlernent Agreement in satisfaction of these FOIA requests

3. Defendant agrees to pay the sum of $13,860.00, which sum shall be in full
settlement and satisfaction of any and all claims arising from the subject matter of this
settlement

4. Defendant’s payment shall be accomplished by electronic funds transfer into
Advocates for the West Lawyer Trust _Account.-' Plaintiff’ s counsel shall provide the appropriate
account number and other information needed to facilitate payment to the undersigned
Defendant’s counsel. Defendant agrees to make payment within 60 days after Plaintiff’s counsel
provides Defendant the appropriate account number and other information needed to facilitate
payment and all parties have signed the Settlement Agreement, or pursuant to court order.

5. Compliance with all applicable federal, state, and local tax requirements shall be
the sole responsibility of Plaintiff. This Settlement Agreernent is executed without reliance upon
any representation by Defendant as to tax consequences, and Plaintiff is responsible for the
payment of all taxes that may be associated with thc settlement payment

6. This Settlement Agrccrncnt is not an admission of liability or fault on the part of
the Defendant, its agents, servants, or employees, and it is specifically denied that they are liable
to the Plaintiff. This Settlement Agreement is not an admission by Plaintiffs regarding the
validity of their claims in the underlying litigation This settlement is entered into by the parties
for the purpose of compromising disputed claims under the Freedoni of Inforrnation Act and

avoiding the expenses and risks of further litigation

SETTLEl\/HENT AGREEMENT_Z

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7. At the time of execution of this Settlement Agreement, Plaintit`t’s counsel agrees
to sign a Stipulation of Dismissal of the above-captioned action with prejudice This Settiement
Agreement is contingent on the filing of the Stipulation of Dismissal with the Court.

8. The persons signing this Settlernent Agreement warrant and represent that they
possess full authority to bind the persons on whose behalf they are signing to the terms of the
settlement

9. This Settlement Agreement shall not affect other FOIA requests not duplicative of
the FOLA_ requests in this case or other FOIA actions initiated by Plaintiff.

10. The parties agree that the Court retains jurisdiction over this Settlement
Agreement with respect to the parties’ compliance with the Settlement Agreernent.

l 1. This Settlement Agreement constitutes the entire agreement of the parties
concerning the rights and obligations discussed herein and subject to dispute in this suit. No
other agreement shall govern the rights of the parties with respect to the matters resolved by this

Settlement Agreernent, except in accordance with the terms herein.

Dated this 4th day of April, 2018. l _

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Attorney for Plaintiff Western Watershcds
Proj ect

SETTLEMENT AGREEMENT_3

 

 

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SETTLEMENT AGREEMENT_4

